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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:09CR3005
                                         )
             V.                          )
                                         )
RICHARD CANFIELD,                        )     MEMORANDUM AND ORDER
                                         )
                   Defendants.           )
                                         )

       This matter is before the court on the Magistrate Judge’s Recommendation
(filing 69) that Defendant Richard Canfield’s motion to suppress (filing 26) be denied
and the objections to the Recommendation (filing 89), filed as allowed by 28 U.S.C.
§ 636(b)(1)(C).

       I have conducted, pursuant to 28 U.S.C. § 636(b)(1), a de novo review of the
portions of the Report and Recommendation to which objections have been made.
Inasmuch as Judge Piester has fully, carefully, and correctly applied the law to the
facts, I need only state that the Recommendation should be adopted, Defendant’s
objections to the Recommendation should be denied, and Defendant’s motion to
suppress should be denied.

      IT IS ORDERED:

      1.     The Magistrate Judge’s Recommendation (filing 69) is adopted;

      2.     Defendant Richard Canfield’s objections to the Recommendation (filing
             89) are denied; and

      3.     Defendant Richard Canfield’s motion to suppress (filing 26) is denied.
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    July 16, 2009.

                                   BY THE COURT:
                                   s/Richard G. Kopf
                                   United States District Judge




                                     2
